      Case 4:16-cr-00021-DPM              Document 140     Filed 06/23/17      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                              NO. 4:16CR00021-003 SWW

TERRELL CORTEZ BOWENS                                                        DEFENDANT


                             ORDER AMENDING JUDGMENT

       It has come to the Court’s attention that, due to a clerical error, the Judgment &

Commitment as to the above-named defendant should be amended to reflect that the sentence

imposed should run concurrently to the undischarged term of imprisonment in Pulaski County

Circuit Court docket number CR 15-3722.

       IT IS THEREFORE ORDERED that the Judgment and Commitment (doc #136) be

amended to reflect the sentence as follows:

       TEN (10) MONTHS on Count 2; EIGHTY-FOUR (84) MONTHS on Count 3 to be

served consecutively with Count 2. This sentence is to run concurrently to the undischarged

term of imprisonment in Pulaski County Circuit Court docket number CR 15-3722.

       All other terms and conditions of defendant’s Judgment and Commitment shall remain

unchanged and in full force and effect.

       DATED this 23rd day of June 2017.

                                              /s/Susan Webber Wright
                                              United States District Judge
